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                                                                                 1 Joel D. Odou
                                                                                   Nevada Bar No. 7468
                                                                                 2 jodou@wshblaw.com
                                                                                   Christina M. Mamer
                                                                                 3 Nevada Bar No. 13181
                                                                                   cmamer@wshblaw.com
                                                                                 4 Wood, Smith, Henning & Berman LLP
                                                                                   2881 Business Park Court, Suite 200
                                                                                 5 Las Vegas, Nevada 89128-9020
                                                                                   Telephone: 702 251 4100
                                                                                 6 Facsimile: 702 251 5405

                                                                                 7 Attorneys for Defendants Lusine Danayan and
                                                                                   Jack Danayan
                                                                                 8

                                                                                 9                                   UNITED STATES DISTRICT COURT
                                                                                10                                       DISTRICT OF NEVADA
                                                                                11
WOOD, SMITH, HENNING & BERMAN LLP


                                    TELEPHONE 702 251 4100 ♦ FAX 702 251 5405
                                    2881 BUSINESS PARK COURT, SUITE 200




                                                                                12 HELPING HANDS WELLNESS CENTER,                  CASE NO.:
                                        LAS VEGAS, NEVADA 89128-9020




                                                                                   INC., a Nevada corporation,
                                                                                13                                                 Eighth Judicial District Court of the State of
                                                Attorneys at Law




                                                                                                Plaintiff,                         Nevada in and for the County of Clark
                                                                                14
                                                                                          v.
                                                                                15                                                 State Court Case No.: A-19-794924-B
                                                                                   LUSINE DANAYAN, an individual; JACK             State Court Dept. No.: XI
                                                                                16 DANAYAN, an individual,
                                                                                                                                        DEFENDANTS' PETITION FOR
                                                                                17                     Defendants.                             REMOVAL
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                                                                                 1                                 DEFENDANTS' PETITION FOR REMOVAL
                                                                                 2            TO:      THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                                                                                                       NEVADA
                                                                                 3
                                                                                              PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendants
                                                                                 4

                                                                                 5 LUSINE DANAYAN and JACK DANAYAN ("DEFENDANTS"), by and through their attorneys of

                                                                                 6 record, WOOD SMITH HENNING & BERMAN, LLP, hereby remove the above-captioned action

                                                                                 7 from the Eighth Judicial District Court of Clark County, Nevada to the United States District Court for

                                                                                 8 the District of Nevada. Removal is warranted under 28 U.S.C. §§ 1332 (a)(1) because this is a civil

                                                                                 9 action between citizens of different states and the amount in controversy exceeds the sum or value of

                                                                                10 $75,000.00 exclusive of interest and costs.
                                                                                          1.     On May 16, 2019, Plaintiff HELPING HANDS WELLNESS CENTER, INC., filed an
                                                                                11
WOOD, SMITH, HENNING & BERMAN LLP


                                    TELEPHONE 702 251 4100 ♦ FAX 702 251 5405
                                    2881 BUSINESS PARK COURT, SUITE 200




                                                                                12 action (Complaint) entitled Helping Hands Wellness Center, Inc. v. Lusine Danayan, et al. in the
                                        LAS VEGAS, NEVADA 89128-9020




                                                                                13 Eighth Judicial District Court of Clark County, Nevada, in case number A-19-794924-B, assigned to
                                                Attorneys at Law




                                                                                14 Department XI. Defendants Lusine Danayan and Jack Danayan were served with a copy of the

                                                                                15 Summons and Complaint on May 23, 2019. A true and correct copy of the Summons and Complaint

                                                                                16 in this action is attached hereto, as Exhibit "A."
                                                                                            2.      No proceedings have been had in the state court action.
                                                                                17
                                                                                              3.       As more fully set forth below, this case is properly removed to this Court pursuant to
                                                                                18
                                                                                19 28 U.S.C. §§ 1332 (a)(1) because this is a civil action between the citizens of different states and the

                                                                                20 amount in controversy exceeds the sum or value of $75,000.00 exclusive of interest and costs.

                                                                                21 I.         DEFENDANTS HAVE SATISFIED THE PROCEDURAL REQUIREMENTS FOR
                                                                                              REMOVAL
                                                                                22            4.       Defendants Lusine Danayan and Jack Danayan was served with a copy of the
                                                                                23 Summons and Complaint on May 23, 2019.

                                                                                24        5.      The Eighth Judicial District Court of Clark County, Nevada is located within the
                                                                                25 United States District Court for the District of Nevada. Thus, venue is proper in this Court and under

                                                                                26 28 U.S.C. § 108 because it is the "district and division embracing the place where such action is

                                                                                27 pending." See U.S.C. § 1441(a).

                                                                                28            6.       No previous request has been made for the relief requested herein.


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                                                                                 1            7.       Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders served

                                                                                 2 upon DEFENDANTS, which papers include the Summons and Complaint, are attached hereto, as

                                                                                 3 Exhibit "A". Pursuant to 28 U.S.C. § 1446(d), a copy of this Petition For Removal is being served

                                                                                 4 on counsel for Plaintiff and a copy is being filed with the Clerk of the Eighth Judicial District Court of

                                                                                 5 Clark County, Nevada.

                                                                                 6 II.        REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT MATTER
                                                                                              JURISDICTION UNDER 28 U.S.C. §§ 1332 AND 1441
                                                                                 7
                                                                                              8.       This Court has subject matter jurisdiction under 28 U.S.C. § 1332(a)(1) because this is
                                                                                 8
                                                                                     a civil action between Plaintiff, a Nevada corporation, and Defendants, Lusine Danayan and Jack
                                                                                 9
                                                                                     Danayan, citizens of the state of California, and the amount in controversy exceeds the sum or value
                                                                                10
                                                                                     of $75,000.000, exclusive of interests and costs.
                                                                                11
WOOD, SMITH, HENNING & BERMAN LLP


                                    TELEPHONE 702 251 4100 ♦ FAX 702 251 5405




                                                                                              A.       The Amount In Controversy Requirement Is Satisfied.
                                    2881 BUSINESS PARK COURT, SUITE 200




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                                        LAS VEGAS, NEVADA 89128-9020




                                                                                              9.       Plaintiff alleges damages arising from an alleged breach of contract and breach of the
                                                                                13
                                                Attorneys at Law




                                                                                     implied covenant of good faith and fair dealing. Plaintiff alleges damages "in excess of $10,000.00"
                                                                                14
                                                                                     as required by Nevada law. Plaintiff also alleges that Defendants demanded an immediate payment of
                                                                                15
                                                                                     $750,000.00 in exchange for executing the settlement documents. Finally, Defendants allege that they
                                                                                16
                                                                                     have invested in excess of $300,000.00 into Plaintiff. As such, the alleged damages are in excess of
                                                                                17
                                                                                     $75,000.00 in total damages.
                                                                                18
                                                                                              B.       There Is Complete Diversity Between Plaintiff and Defendants.
                                                                                19
                                                                                              10.      Upon information and belief, and as alleged in the Complaint, Plaintiff is a Nevada
                                                                                20
                                                                                     corporation.
                                                                                21
                                                                                              11.      Defendants, Defendants Lusine Danayan and Jack Danayan, are and were at all times
                                                                                22
                                                                                     relevant hereto, citizens of the state of California.
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                                                                                 1            WHEREFORE, DEFENDANTS respectfully remove this action from the Eighth Judicial

                                                                                 2 District Court of Clark County, Nevada, in case number A-19-794924-B to this Court pursuant to 28

                                                                                 3 U.S.C. § 1441.

                                                                                 4            May 24, 2019

                                                                                 5                                           WOOD, SMITH, HENNING & BERMAN LLP
                                                                                                                             Attorneys at Law
                                                                                 6

                                                                                 7

                                                                                 8                                           By          /s/ Christina M. Mamer
                                                                                                                                  JOEL D. ODOU
                                                                                 9                                                Nevada Bar No. 7468
                                                                                                                                  CHRISTINA M. MAMER
                                                                                10
                                                                                                                                  Nevada Bar No. 13181
                                                                                11                                                2881 Business Park Court, Suite 200
WOOD, SMITH, HENNING & BERMAN LLP




                                                                                                                                  Las Vegas, Nevada 89128-9020
                                    TELEPHONE 702 251 4100 ♦ FAX 702 251 5405
                                    2881 BUSINESS PARK COURT, SUITE 200




                                                                                12                                                Tel. 702 251 4100
                                        LAS VEGAS, NEVADA 89128-9020




                                                                                13                                                Attorneys for Defendants Lusine Danayan and
                                                Attorneys at Law




                                                                                                                                  Jack Danayan
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                                                                                 1                                 CERTIFICATE OF SERVICE
                                                                                 2            I hereby certify that on this 24th day of May, 2019, a true and correct copy

                                                                                 3 of DEFENDANTS' PETITION FOR REMOVAL was served via the United States District Court

                                                                                 4 CM/ECF system on all parties or persons requiring notice.

                                                                                 5

                                                                                 6

                                                                                 7                                         By /s/ Alex J. Moya
                                                                                                                              An Employee of
                                                                                 8                                            WOOD, SMITH, HENNING & BERMAN LLP
                                                                                 9

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                                                                                11
WOOD, SMITH, HENNING & BERMAN LLP


                                    TELEPHONE 702 251 4100 ♦ FAX 702 251 5405
                                    2881 BUSINESS PARK COURT, SUITE 200




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                                        LAS VEGAS, NEVADA 89128-9020




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                                                Attorneys at Law




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       Exhibit A
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